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                          UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF PENNSYLVANIA



LISA BARBOUNIS                                   : CIVIL ACTION
                                                 : NO. 2:19-cv-05030-JDW
                       Plaintiff,                : NO. 2:20-cv-02946
-vs-                                             :
                                                 :
THE MIDDLE EAST FORUM, et al.                    :
                                                 :
                                                 :
                       Defendants.               :
                                                 :


                       DEFENDANTS’ PRE-TRIAL MEMORANDUM

       In accordance with the Court’s Order of June 25, 2021, Federal Rule of Civil Procedure

26(a)(3) and Local Rule of Civil Procedure 16.1, Defendants The Middle East Forum (the

“Forum”), Daniel Pipes and Gregg Roman (collectively, “Defendants”) hereby submit their

pretrial memorandum.



I.     NATURE OF THE ACTION AND BASIS FOR JURISDICTION

       This Court’s resolution of the parties’ motions for summary judgment (Doc. Nos. 133

and 135) has narrowed the issues and the scope of this matter considerably. The Court dismissed

several claims raised by Plaintiff as abandoned or preempted, including:

       -   her claims of retaliation under Title VII of the Civil Rights Act of 1964 (“Title VII”),

           the Philadelphia Fair Practices Ordinance (“PFPO”) and the Pennsylvania Human

           Relations Act (“PHRA”) (see Doc. No. 133 at p.2);

       -   her claim for constructive discharge (Id.);

       -   her claim for disparate treatment due to the lack of any alleged tangible employment

           action taken by the Forum against her; (Id.);
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       -   her tort claims for negligent hiring/retention/supervision (Id. at p.1-3).

       Plaintiff’s only remaining claims for trial is a hostile work environment theory of sexual

harassment and a derivative state law claims for aiding and abetting discrimination under the

PHRA and PFPO. (See Doc. No. 133 at p.3). To prevail on this claim at trial, Plaintiff “must

establish that 1) [she] suffered intentional discrimination because of []her sex, 2) the

discrimination was severe or pervasive, 3) the discrimination detrimentally affected [her], 4) the

discrimination would detrimentally affect a reasonable person in like circumstances, and 5) the

existence of respondeat superior liability.” Moody v. Atl. City Bd. of Educ., 870 F.3d 206, 213

(3d Cir. 2017) (quotation omitted).

       The gravamen of Plaintiff’s hostile work environment claims are that Defendant Gregg

Roman put his arm around her inappropriately at the American Israel Public Affairs Committee

(“AIPAC”) conference on March 4, 2018, that Roman engaged in an inappropriate discussion of

a sexual nature and slid his foot under her clothed backside while sitting on a couch in Israel

several days later, and, according to Plaintiff’s declaration, made suggestive comments to her

through October of 2018.

       At trial, Defendants will show that Plaintiff was not subject to any unwelcome conduct

based on her gender. Instead, as Defendants will show, Plaintiff and Roman had a friendly

relationship in a high-pressure work environment. Defendants will show that Plaintiff chose to

spend time with Roman outside the workday and that Plaintiff had a positive working

relationship with Mr. Roman. In short, Defendants will show that the conduct alleged by Plaintiff

did not occur. Furthermore, Defendants had an anti-harassment policy in place of which Plaintiff

was aware, and Plaintiff failed to report any misconduct by Roman until November 1, 2018, at

which time Daniel Pipes, taking Plaintiff at her word, took action intended to and which did

remedy any potential harassment of Plaintiff, which Plaintiff herself acknowledges. Defendants

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are thus insulated from liability pursuant to the Faragher-Ellerth affirmative defense, which

Defendants will prove at trial. (See Doc. 133 at p.5-6). Furthermore, Defendants submit, and

will show at trial, that Plaintiff suffered no recoverable damages as a result of her allegations

even if true (which, again, Defendants deny), and that any emotional distress suffered by

Plaintiff was the result of causes and actions outside of her employment with the Forum.

       The Court has subject matter jurisdiction over this case as Plaintiff seeks relief under

Title VII of the Civil Rights Act of 1964.


II.    WITNESSES

       Please see Attachment A for a list of Defendants’ anticipated trial witnesses.

III.   EXHIBITS

       Please see Attachment B for a list of Defendants’ anticipated trial exhibits.

IV.    LEGAL ISSUES

       The most critical issue that will be presented to the Court for decision in advance of trial

is the admissibility of evidence given by or about the allegations against Roman made by three of

Plaintiff’s former coworkers, Lisa Barbounis, Caterina Brady, and Patricia McNulty and other

former employees of the Forum. As Defendants will show in their forthcoming motion in

limine, third-party witness testimony in this matter, which concerns only those claims of Plaintiff

herself, should be limited to that of Plaintiff herself and any other witnesses who observed the

alleged conduct in question. Plaintiff should not be permitted to call other witnesses to testify

about their own allegations of harassment against Roman, as such testimony is irrelevant to

Plaintiff’s own claims and unduly prejudicial.

       Defendants will also file a motion in limine concerning unduly prejudicial evidence and

testimony that Plaintiff is likely to offer, including testimony that she “slept with a knife under

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her bed” in Israel, that another Forum employee brought pepper spray to a meeting, and that she

believes Roman is a “predator” (and other like descriptors). Such evidence and testimony is

likely to inflame the passions of the jury and cause them to overlook the evidence at trial (as was

decided by Judge Gallagher at the trial between the Forum and Marnie Meyer-O’Brien).

       Defendants will also move in limine to preclude evidence of settlement discussions

between the parties, evidence of other previously completed litigations between Plaintiff and

Defendants and other claimants and Defendants, and any other actions between Plaintiff and

Defendants, as well as EEOC filings and insurance-related documents including insurance

current litigation involving insurance, insurance policies and the existence of the Forum’s current

and past insurance coverage.

       Defendants will also move in limine to bar Plaintiff from introducing evidence of alleged

retaliation and/or constructive discharge (and related damages), as her retaliation claims were

dismissed by this Court.

       Defendants will also move affirmatively in limine to admit evidence concerning tax and

financial problems Plaintiff has suffered, including IRS records, bank records and litigations,

which provide a motive for Plaintiff to pursue claims against Defendants in an effort to gain a

needed windfall.

       Defendants may seek a spoliation sanction in the form of an adverse inference against

Plaintiff resulting from her wiping of her Forum-owned computer despite Forum policy and a

litigation hold prohibiting such destruction of evidence. Defendants believe that the evidence

contained on Plaintiff’s work computer would have been harmful to Plaintiff’s case and helpful

to Defendants’ defense.

       Defendants may file a motion in limine or otherwise move to strike Plaintiff’s claims for

punitive damages for lack of evidence and/or statutory support.

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       Defendants may also re-raise their statute of limitations defense to Plaintiff’s

discrimination allegations.

       Depending on the Court’s resolution of Defendants’ motions in limine, Defendants may

request a limiting instruction from the Court to be read to the jury instructing that the jury may

only consider certain types of testimony and evidence for a limited purpose.

       Defendants may seek trial depositions of witnesses unavailable and/or outside of the

Court’s jurisdiction, if necessary.

       Finally, Defendants anticipate that Plaintiff may raise the issue of a 30(b)(6) discovery

deposition pursuant to prior Order of the Court. Pursuant to Court Order, Defendants produced

additional documents to Plaintiff on August 1, 2021. Plaintiff’s counsel waited two weeks to

inquire about a deposition of Gregg Roman and was told that Mr. Roman would likely be

available the week of August 30. In that same correspondence, defense counsel specifically

informed Plaintiff’s counsel that he was required to notify the Court on or before September 2,

2021 of his intention to depose Mr. Roman. Despite this, he never did so, nor did he ever notice

any deposition. Two weeks after that deadline, Plaintiff raised the issue of the deposition for the

first time since his initial inquiry and was informed, pursuant to Court Order, that the deadline

for noticing that deposition had passed. Plaintiff did not respond to that email dated September

15, 2021, nor has he engaged in any further discussion with defense counsel or filed a motion to

compel. A true and correct copy of the last correspondence between counsel for Plaintiff and

counsel for defendant is attached as Attachment C.


V.     STIPULATIONS

       There are no stipulations at this time. Counsel for Plaintiff and Defendants are discussing

potential stipulations to narrow the issues for trial and to avoid waste of judicial resources. If



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counsel are able to agree on such stipulations, they will amend their pretrial memoranda and

submit the stipulations to the Court.


VI.    DEPOSITION DESIGNATIONS

       At the present time, Defendants do not anticipate offering designated portions of

depositions as evidence at trial, but reserve their right to do so should the need arise as a result of

witness unavailability or for impeachment purposes.


VII.   DAMAGES

       Defendants submit that Plaintiff is entitled to no damages.


VIII. ESTIMATED TIME FOR TRIAL

       Defendants anticipate that trial in this matter will take four (4) to five (5) days depending

heavily on which witnesses Plaintiff attempts to call and on the resolution of the Defendants’

motions in limine concerning the witnesses Plaintiff is permitted to call and the substance and

scope of those witnesses testimony. If Defendants’ motion in limine is denied and Plaintiff calls

all anticipated “other party” witnesses, Defendants anticipate that trial in this matter will take

nine (9) to (10) days.
                                                       Respectfully submitted,

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                                                       The Middle East Forum and
                                                       Daniel Pipes



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Dated: September 24, 2021




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        Attachment A
        Witness List
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                      Attachment A - Defendants’ Witness List

                                  Lay Witnesses
    Witness Name                    Address                     Concise Statement of
                                                                      Testimony
   Dr. Daniel Pipes           Contact through counsel      Dr. Pipes will testify as to the
                                                           substance of Plaintiff’s
                                                           harassment claims and the
                                                           actions taken by himself and
                                                           the Forum to remedy the
                                                           conduct complained of by
                                                           Plaintiff.
     Gregg Roman              Contact through counsel      Mr. Roman will testify as to
                                                           the substance of Plaintiff’s
                                                           harassment claims and the
                                                           actions taken by himself and
                                                           the Forum to remedy the
                                                           conduct complained of by
                                                           Plaintiff.
Lisa Reynolds Barbounis               Plaintiff            Ms. Barbounis will testify as
      (as of cross)                                        to the substance of Plaintiff’s
                                                           harassment claims and her
                                                           alleged emotional distress.
   Vasili Barbounis              Plaintiff’s Spouse        Mr. Barbounis will testify as
    (as of cross)                                          to the substance of Plaintiff’s
                                                           harassment claims and her
                                                           alleged emotional distress.
Marnie O’Brien Meyer         Contact through Plaintiff’s   Ms. Meyer will testify as to
    (as of cross)                 counsel’s firm           Plaintiff’s failure to report
                                                           harassment in accordance with
                                                           the Forum’s anti-harassment
                                                           policy and the actions taken
                                                           by the Forum after reports
                                                           were made.
   Delaney Yonchek           Contact through Plaintiff’s   Ms. Yonchek will testify as to
     (as of cross)                counsel’s firm           the substance of Plaintiff’s
                                                           claims against the Forum.
     Stacy Roman              Contact through counsel      Ms. Roman will testify as to
                                                           the substance of Plaintiff’s
                                                           claims, the reporting of
                                                           Plaintiff’s claims to the Forum
                                                           and the actions taken by the
                                                           Forum after reports were
                                                           made.
     Matan Peleg                  Jerusalem, Israel        Mr. Peleg will testify as to his
                                                           interactions with and
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                                                   observations of the Plaintiff
                                                   during her trip to Israel in
                                                   2018.
  Gilad Ach                  Eli, Israel           Mr. Ach will testify as to his
                                                   interactions with and
                                                   observations of the Plaintiff
                                                   during her trip to Israel in
                                                   2018.
Yaron Sideman             Rehovot, Israel          Mr. Sideman will testify as to
                                                   his interactions with and
                                                   observations of the Plaintiff
                                                   during her trip to Israel in
                                                   2018.
Jonathan Hunter          London, Englang           Mr. Hunter will testify as to
                                                   his observations of the
                                                   Plaintiff during AIPAC in
                                                   2018.
 Elliott Miller          Embassy of Israel,        Mr. Miller will testify as to his
                          Washington, DC           observations of the Plaintiff
                                                   during AIPAC in 2018.
 Gary Gambill         Contact through counsel      Mr. Gambill will testify
                                                   concerning his observations of
                                                   Plaintiff, Mr. Roman, the
                                                   interactions between the two,
                                                   the office environment at the
                                                   Forum and the policies and
                                                   procedures at the Forum.
Matthew Ebert        Contact through Plaintiff’s   Mr. Ebert will testify as to the
 (as of cross)                counsel              substance of phone calls he
                                                   made to Mr. Roman
                                                   concerning the veracity of
                                                   Plaintiff’s claims.
Jayne Reynolds       Contact through Plaintiff’s   Ms. Reynolds will testify as to
                              counsel              her conversations with
                                                   Plaintiff concerning her work
                                                   at the Forum, her interactions
                                                   with Mr. Roman, her trips to
                                                   the United Kingdom, and
                                                   sources of her emotional
                                                   distress.
David Reynolds       Contact through Plaintiff’s   Mr. Reynolds will testify as to
                              counsel              his conversations with
                                                   Plaintiff concerning her work
                                                   at the Forum, her interactions
                                                   with Mr. Roman, her trips to
                                                   the United Kingdom, and
                              3
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                                                                     sources of her emotional
                                                                     distress.
        Ryan Costello                East Vincent Township,          Mr. Costello will testify as to
                                   Pennsylvania or Washington,       the degree and the nature of
                                               DC                    Plaintiff’s emotional distress,
                                                                     if any.
         Ryan Coyne                2402 Potomac Avenue, Unit         Mr. Coyne will testify as to
                                   102, Alexandria, VA 22301         the degree and the nature of
                                                                     Plaintiff’s emotional distress,
                                                                     if any.
 Stephen Yaxley Lennon (aka           Luton/London, England          Mr. Costello will testify as to
   Tommy Robinson, Paul                                              the degree and the nature of
          Harris)                                                    Plaintiff’s emotional distress,
                                                                     if any, and Plaintiff’s desire to
                                                                     work in the United Kingdom.
        Daniel Thomas                  Portsmouth, England           Mr. Thomas will testify as to
                                                                     his relationship with Plaintiff,
                                                                     her admissions to him
                                                                     concerning her motivations in
                                                                     pursuing these claims, and
                                                                     alternative sources of her
                                                                     emotional distress, if any.
       Benjamin Baird                 Contact through counsel        Mr. Baird will testify as to his
                                                                     relationship with Plaintiff, her
                                                                     admissions to him concerning
                                                                     her work at the Forum and her
                                                                     pursuit of this lawsuit, and
                                                                     alternative sources of her
                                                                     emotional distress, if any.
        Jasmin Bishop                  Portsmouth, England           Ms. Bishop will testify as to
                                                                     Plaintiff’s interactions with
                                                                     her, and the degree and cause
                                                                     of her emotional distress, if
                                                                     any.


                                           Expert Witnesses
Defendants will call Expert Witness Dr. Barbara Ziv, who will testify to a reasonable degree of
medical certainty that (1) Plaintiff does not display any psychiatric symptoms that can be
attributed to her tenure at the Middle East Forum and (2) Plaintiff has problems related to self-
esteem and emotional regulation that are unrelated to and were not exacerbated by events at the
Middle East Forum; Dr. Ziv will also provide expert opinion testimony rebutting the conclusion
of Plaintiff’s expert that Plaintiff suffered emotional distress as a result of sexual harassment at
the Middle East Forum.


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        Attachment B
         Exhibit List




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                            DEFENDANTS’ EXHIBIT LIST
Exhibit No.     Document Description            Bates Number
1               Complaint                       Doc. No. 1
2               First Amended Complaint         Doc. No. 14
3               Defendants’ Answer              Doc. No. 17
4               Order Granting Motion for       Doc. No. 31
                Contempt
5               Amended Complaint               Doc. No. 51
6               Answer to Amended Complaint Doc. No. 53
                with Counterclaims
7               Answer to Counterclaims         Doc. No. 57
8               Order Granting Motion for       Doc. No. 74
                Contempt
9               Order on Motion for Contempt    Doc. No. 82
10              Order Granting Motion for       Doc. No. 85
                Contempt
11              Order on Defendants’ Motion     Doc. No. 133
                for Summary Judgment
12              Memorandum Order on             Doc. No. 135
                Motions for Summary Judgment
13              Order on Plaintiff’s Motion for Doc. No. 136
                Summary Judgment
14              6/20/2019 EEOC Charge           No Bates No.
15              12/10/2019 EEOC Retaliation     No Bates No.
                Charge
16              Email from Pipes to Roman re: D00001-
                Investigation of Allegations
17              Email Chain between Patricia    D00001-0004
                McNulty and Daniel Pipes re:
                Investigation
18              Email Chain between Lisa        D00005-00007
                Barbounis and Daniel Pipes re:
                Investigation
19              Email Chain between Marnie      D00011-00012
                Meyer and Daniel Pipes re:
                Investigation
20              Memorandum from D. Pipes to D0000013
                MEF Staff re: NDAs
21              Email chain between Patricia    D0000017-000018
                McNulty and Daniel Pipes re:
                Investigation
22              Email chain between Lisa        D0000019-000020
                Barbounis and Daniel Pipes re:
                travel activities
23              Email chain between Patricia    D0000021
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               McNulty and Daniel Pipes re:
               Matt Bennett
24             Email chain between Patricia      D0000022
               McNulty and Daniel Pipes re:
               G. Roman
25             Response from D. Pipes to P.      D0000023
               McNulty Email re: G. Roman
26             Email from L. Barbounis to D.     D0000024
               Pipes re: UK Trip
27             Email from D. Pipes to P.         D0000025
               McNulty re: Audit
28             Email from P. McNulty to D.       D0000027-000028
               Pipes re: No new instances of
               sexual harassment
29             Email from L. Barbounis to D.     D0000029
               Pipes re: Travel and Political
               Associations
30             Email chain from D. Pipes to G.   D0000032
               Roman re: allegations of gossip
               with M. Bennett
31             Email from D. Pipes to P.         D0000035
               McNulty re: investigation of
               Bennett/Roman allegations
32             Email from D. Pipes to M.         D0000036
               Meyer and C. Brady re:
               Bennett/Roman allegations
33             Email chain between Pipes and     D0000041-0000044
               Meyer re: Audit
34             Staff Memo re: November 5,        D0000045
               2018 Meeting
35             New MEF NDA (unsigned)            D0000046-0000048
36             11/4/18 Email from D. Pipes to    D0000049
               L. Barbounis re: allegations
               against G. Roman
37             11/6/18 Letter from D. Pipes to   D0000050-000052
               G. Roman re: new job duties
38             3/11/19 chain between M. Fink     D0000054
               and L. Barbounis re: G. Roman
               returning to office
39             3/11/19 email from P. McNulty     D0000055-000056
               to M. Fink re: G. Roman’s
               return to office
40             3/11/19 email from M. Meyer to    D0000057-000058
               M. Fink re: G. Roman return to
               office

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41             4/15/19 email from D. Pipes to    D0000059
               L. Barbounis re: uncleared UK
               trip
42             6/5/2019 email from L.            D0000060
               Barbounis to D. Pipes re:
               Tommy Robinson assistance
43             6/5/2019 email from D. Pipes to   D0000061
               L. Barbounis re: Guardian
               article
44             6/17/19 email from D. Pipes to    D0000062
               L. Barbounis re: UK travel and
               affiliations
45             7/17/19 email from M. Fink to     D0000063
               L. Barbounis re: UK travel and
               activities
46             5/28/19 email from D. Pipes to    D0000066-000067
               L. Barbounis re: UK travel and
               affiliations
47             Middle East Forum bylaws          D0000070-000089
48             MEF Personnel Manual – May        D0000426-000442
               2015
49             MEF BYOD Policy                   D0000965-000967
50             11/5/18 email chain between L.    D0000976
               Barbounis and D. Pipes re:
               Tommy Robinson
51             11/4/2018 email from L.           D0000977-000979
               Barbounis to D. Pipes re:
               response to investigation of G.
               Roman
52             Text message chain between L.     D0000981
               Barbounis and V. Barbounis
53             11/4/18 Email chain between L.    D0000985-000986
               Barbounis and D. Pipes re:
               NDA
54             8/7/2019 L. Barbounis             D0000989-000990
               resignation from MEF
55             11/6/2018 Memo from D. Pipes      D0000992-000994
               to G. Roman re: new job
               responsibilities
56             11/5/2018 Email chain between     D00001010-00015
               L. Barbounis and D. Pipes re:
               G. Roman allegations with
               attachments
57             MEF Personnel Manual – May        D0001018-0001037
               2019

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58             Email from M. Fink to M.          D0001038-0001055
               Meyer re: Edits to Employee
               Manual with attached manual
59             Email from M. Meyer to D.
               Yonchek re: L. Barbounis email
               forwarding after resignation
60             11/5/18 email from L.             D0001100-0001102
               Barbounis to D. Pipes
               responding to questions
               concerning investigation
61             4/23/19 Email from L.             D0001103
               Barbounis to T. McNulty re:
               Matt Bennett and G. Roman
62             4/23/19 Email from T. McNulty     D0001107
               to D. Pipes re: M. Bennett and
               G. Roman
63             3/18/19 Signed G. Roman offer     D0001109-0001111
               letter
64             11/5/2018 email from L.           D0001113-0001114
               Barbounis to D. Pipes and M.
               Fink attaching screenshots
65             Text messages between G.          D00001122-1125
               Roman and L. Barbounis
66             6/19/19 Email from D. Pipes to    D0001131
               L. Barbounis re: Suprises
67             11/6/18 Email from M. Fink to     D0001135-0001138
               G. Roman attaching new job
               duties
68             11/4/18 Email from L.             D00001144-0001155
               Barbounis to D. Pipes attaching
               all screenshots
69             4/24/19 Email from M. Meyer       D0000156
               to D. Pipes stating rumor was
               started pre-Nov. 1
70             11/4/18 Email from L.             D0001178-0001179
               Barbounis to D. Pipes re: new
               NDA concerns
71             8/7/19 Email from M. Meyer to     D0001248
               G. Levy re: removal of L.
               Barbounis from social media
               accounts
72             6/11/19 Email from T. McNulty     D0001303-0001304
               to D. Pipes
73             11/4/18 Email from L.             D0001332
               Barbounis to D. Pipes re: happy

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               to sign this version of NDA
74             Text message to L. Barbounis        D0001333
               re: need to be more careful
75             6/19/19 Email from D. Pipes to      D0001337
               L. Barbounis re: surprise.
76             6/17/19 Email from D. Pipes to      D0001338
               L. Barbounis re: Tommy
               Robinson work
77             Text message from L.                D0001356
               Barbounis to J. Bishop re:
               marriage and Danny Thomas
78             Text message between V.             D0001357
               Barbounis and J. Bishop re:
               black eye
79             Transcript of L. Barbounis          D0001358-0001397
               messages to J. Bishop
80             Text message from L.                D0001575-0001579
               Barbounis to J. Bishop re:
               Tommy Robinson
81             Text message from L.                D0001580
               Barbounis to D. Thomas
82             Text messages from L.               D0001583
               Barbounis to J. Bishop
83             Text message from L.                D0001584
               Barbounis to P. McNulty re:
               shirtless man
84             Text messages from L.               D0001585-0001586
               Barbounis to J. Bishop
85             8/7/19 Barbounis resignation        D0001587
               email
86             5/28/19 email from D. Pipes to      D00001588-0001590
               L. Barbounis re: surprise travels
87             5/4/18 email chain between L.       D0001592-0001593
               Barbounis and M. Meyer re:
               scheduling
88             4/30/19 L. Barbounis auto-reply     D0001597
               out of office from March 30 to
               May 14
89             4/16/19 email from L.               D0001598-0001599
               Barbounis to D. Pipes re: J.
               Posobiec connection
90             5/16/19 Email from L.               D0001600-0001601
               Barbounis to D. Pipes and G.
               Roman re: trip to UK
91             Email from D. Pipes to L.           D0001608-0001610

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                Barbounis re: London trip
92              Email to D. Pipes from L.          D0001611-0001612
                Barbounis re: Zisser title error
93              Email from J. Halliday to D.       D0001613-0001614
                Pipes, G. Roman and L.
                Barbounis seeking clarification
                on Barbounis’ role with
                Robinson campaign
94              12/7/18 email to D. Pipes and      D0001618-0001619
                G. Roman re: Barbounis
                involvement with Robinson
95              10/30/18 memo from M.              D0001621-0001622
                Bennett to G. Roman re: L.
                Barbounis and M. Meyer
96              4/16/19 email from D. Pipes to     D0001623-0001624
                L. Barbounis re: unauthorized
                travel
97              6/19/19 email from D. Pipes to     D0001627
                L. Barbounis re: job
                announcement release
98              6/19/19 email from D. Pipes to     D0001629
                L. Barbounis re: job
                announcement
99              Email chain between L.             D0001630
                Barbounis and G. Roman re:
                Matan Peleg
100             Email from J. Halliday to D.       D0001631-0001633
                Pipes re: L. Barbounis and Ukip
101             12/7/18 email from L.              D0001637-0001639
                Barbounis to D. Pipes re: UK
                activities
102             12/7/18 email from D. Pipes to     D0001640
                J. Halliday re: L. Barbounis
                Ukip activities
103             10/30/18 email from L.             D0001641-0001642
                Barbounis to G. Roman re:
                office incident
104             7/27/19 email from D. Pipes to     D0001644
                L. Barbounis re: Zisser title
                error
105             10/30/19 email from L.             D0001645-1646
                Barbounis to G. Roman re:
                office incident
106             10/31/18 email from L.             D0001648
                Barbounis to G. Roman re:

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                clearing the air with M. Meyer
107             7/3/18 Email from G. Roman        D0001667-1669
                stating L. Barbounis should
                arrange Young Leadership
                events
108             9/17/18 Email from G. Roman       D0001844-0001845
                to L. Barbounis making sure
                Barbounis is copies on Campus
                Watch Updates
109             10/15/18 email from G. Roman      D0002075-0002076
                to L. Barbounis and others re:
                Barbounis’ email re: donor
                meetings
110             Email chain between M. Meyer      D0010471-0010472
                and M. Fink re: G. Roman’s
                return to the office
111             11/9/18 email from S. Westrop     D0010475-0010476
                to D. Pipes re: G. Roman’s
                conduct toward male employees
112             11/8/18 email chain re: Tommy     D0010476-0010479
                Robinson
113             4/29/19 email chain between L.    D0010481
                Barbounis and D. Pipes re:
                funding of T. Robinson
114             11/8/18 email chain between L.    D0010482-0010485
                Barbounis and D. Pipes re:
                Tommy Robinson
115             L. Barbounis telegram messages    D0010492-0010501
                with D. Pipes
116             L. Barbounis text messages with   D0010502-0010507
                D. Pipes re: Tommy Robinson
117             6/29/18 email chain from V.       D0010525-0010532
                Sullivan re: payment of money
                from MEF
118             6/18/19 email from L.             D0010533-0010535
                Barbounis to M. Fink re:
                Tommy Robinson
119             4/29/19 telegram messages         D0010581-0010590
                between L. Barbounis and D.
                Pipes
120             3/27/19 email chain between M.    D0010613-0010614
                Fink and P. McNulty re: G.
                Roman’s return to office
121             6/11/19 email from L.             D0010617-0010619
                Barbounis to P. McNulty re: G.

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                Roman dictating stuff
122             7/19/19 email from L.             D0010625-0010627
                Barbounis to her personal email
                address re: UK travels
                correspondence
123             Emails from L. Barbounis to T.    D0010646-0010649
                Giles re: Tommy Robinson
124             11/23/18 email from R. Thomas     D0010650-0010651
                to L. Barbounis re: D. Thomas
125             7/24/19 L. Barbounis’ resume      D0010731-0010735
                submission to House of
                Representatitves
126             6/17/19 email correspondence      D0010739-0010740
                between L. Barbounis and D.
                Pipes re: T. Robinson
127             3/4/19 email from L. Barbounis    D0010748
                as Director of Communications
                for T. Robinson
128             2/17/2019 email from L.           D0010750
                Barbounis as Director of
                Communications for T.
                Robinson
129             Message from J. Bishop re: L.     D0010753
                Barbounis’ affair with D.
                Thomas
130             Messages between L. Barbounis     D0010754
                and D. Pipes re: G. Roman’s
                501(c)(4)
131             11/4/18 email from D. Pipes to    D0010756-0010758
                L. Barbounis re: new NDA
132             Messages between L. Barbounis     D0011091-0011143
                and J. Bishop
133             Messages between L. Barbounis     D0011144-0011153
                and D. Thomas
134             Audio transcriptions of           D0011154-0011157
                messages from L. Barbounis to
                J. Bishop
135             5/28/19 Email from L.             D0011161-0011164
                Barbounis to D. Pipes re: job
                review
136             WhatsApp Chat between L.          D0011186
                Barbounis and D. Thomas
137             Message between L. Barbounis      D0011187
                and D. Thomas
138             Message from L. Barbounis re:     D0011188-0011169

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                D. Thomas getting what he
                deserves
139             7/10/2019 email from G. Igler     D0011182-0011183
                to L. Barbounis
140             Text messages from J. Bishop      D0011215-0011217
                to G. Roman re: L. Barbounis’
                activities in the UK
141             8/16/18 Telegram thread           D0011254-0011293
                between L. Barbounis and G.
                Roman
142             Messages between J. Bishop        D0011300
                and L. Barbounis
143             3/13/19 Memo to G. Roman          D0011308-0011310
                from D. Pipes re: new job
                responsibilities
144             7/19/19 Email from L.             D0011311
                Barbounis re: Facebook ban
145             6/5/19 Email from L. Barbounis    D0011316
                to D. Pipes re: UK trip with
                children
146             6/4/19 Correspondence between     D0011330-0011345
                M. Meyer and D. Pipes re:
                Audit
147             5/29/19 RAIR Grant proposal       D0011365-0011388
                from L. Barbounis to D. Pipes
148             5/16/19 email from L.             D0011389-0011390
                Barbounis to D. Pipes and G.
                Roman re: family vacation to
                England and Ireland
149             Memo from L. Barbounis to D.      D0011391-0011392
                Pipes and G. Roman re: activity
                with T. Robinson
150             2/12/2019 Email from L.           D0011393-0011395
                Barbounis to D. Pipes re:
                Weekly Report
151             1/7/19 email from L. Barbounis    D0011397-0011403
                to D. Pipes re: J. Atkinson
                proposal
152             12/4/2018 email from L.           D0011404
                Barbounis to D. Pipes re:
                Tommy Robinson
153             5/31/18 email from L.             D0011418
                Barbounis to G. Roman re: T.
                Robinson event
154             12/12/18 email drafted by L.      D0011419

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                Barbounis for D. Thomas
155             2/8/19 email from L. Barbounis   D0011420-0011421
                to D. Kirkpatrick re: T.
                Robinson
156             12/3/18 email from L.            D0011423-0011427
                Barbounis to T. Robinson re:
                proposal to D. Pipes
157             6/20/18 email from D. Thomas     D0011492-0011497
                to G. Roman re: expenses for
                event
158             9/26/17 Email from L.            D0011502
                Barbounis accepting
                employment offer
159             9/15/17 email from L.            D0011503-0011505
                Barbounis to M. Bennett
                attaching writing samples and
                confirming meeting
160             L. Barbounis Facebook post re:   D0011538
                judging coworkers
161             9/17/18 text thread between L.   D0011540-0011541
                Barbounis and G. Roman re:
                Barbounis’ sick children and
                personal issues
162             WhatsApp threat between L.       D0011542-
                Barbounis and D. Pipes
163             Email from G. Roman to L.        D0011543-0011544
                Barbounis re: 501(c)(4)
164             Text thread between L.           D0011545-0011547
                Barbounis and G. Roman re:
                telling me when you’re upset
165             Transcript of T. Robinson        D0011551
                message to L. Barbounis re:
                campaign
166             Text thread between L.           D0011552-0011556
                Barbounis and G. Roman re:
                various personal issues
167             Text message from L.             D0011559
                Barbounis re: M. Meyer being
                upset
168             October 2018 Text thread         D0011560-0011561
                between G. Roman and M.
                Meyer re: L. Barbounis
169             Notes of 11/5/18 meeting         D0011562-0011564
170             MEF Grant Agreement with D.      D0011576-0011585
                Thomas, receipts and

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                correspondence
171             8/3/18 proposal from L.           D0011587-0011589
                Barbounis to G. Roman re: T.
                Robinson
172             M. Meyer text messages            MEFDOCS00001-00006
173             M. Meyer group text messages      MEFDOCS00007-00009
                re: Kimmel Center call
174             Text thread between P.            MEFDOCS00052-00073
                McNulty and D. Yonchek
175             Text thread between L.            MEFDOCS00074-00103
                Barbounis, P. McNulty and
                others re: various subjects
176             Text thread between L.            MEFDOCS000104-00226
                Barbounis and D. Yoncheck
177             Text thread from C. Brady to T.   MEFDOCS000469-000870
                McNulty re: L. Barbounis and
                office environment
178             Text thread with various MEF      MEFDOCS000871-000874
                employees discussing dating
                and related subjects
179             Text thread with L. Barbounis     MEFDOCS000878-000879
                commenting about a boss who
                does not trust her
180             SMS messages between L.       Produced by Plaintiff with no Bates No.;
                Barbounis and T. McNulty      Internal ref: MEF00078621-00083672
181             T. McNulty Instagram Post     Produced by Plaintiff with no Bates No.;
                                              Internal ref: MEF00097372
182             Text messages between L.      Produced by Plaintiff with no Bates No.;
                Barbounis and D. Thomas       Internal ref: MEF00086675
183             WhatsApp Messages between J. Produced by Plaintiff with no Bates No.;
                Bishop and L. Barbounis       Internal ref: MEF00049321-00049615
184             Instagram messages between R. Produced by Plaintiff with no Bates No.;
                Coyne and L. Barbounis        Internal ref: MEF00097375
185             SMS messages between L.       Produced by Plaintiff with no Bates No.;
                Barbounis and J. Reynolds     Internal ref: MEF00075352-00075487
186             WhatsApp messages between L. Produced by Plaintiff with no Bates No.;
                Barbounis and “Dave UK”       Internal ref: MEF00070890-00071028
187             Instagram messages between L. Produced by Plaintiff with no Bates No.;
                Barbounis and R. Kassam       Internal ref: MEF00097305
188             Instagram messages between L. Produced by Plaintiff with no Bates No.;
                Barbounis and “Vanilla Steve” Internal ref: MEF00093091-00093108
189             WhatsApp messages between L. Produced by Plaintiff with no Bates No.;
                Barbounis and G. Levy         Internal ref MEF00070757-00070889
190             SMS Between McNulty and       Produced by Plaintiff with no Bates No.;
                Barbounis re Brady            Internal ref: Barbounis -197135

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191             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re McNulty looking     Internal ref no. Barbounis-200339
                for new jobs
192             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Yonchek and         Internal ref: Barbounis-197056-57
                Work Environment
193             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Conflict with       Internal ref: Barbounis-197892-94
                Marnie
194             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Conflict with       Internal ref: Barbounis-198408-12
                O’Brien.
195             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Stacey Roman        Internal ref: Barbounis-198-480-81
196             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re conflict with       Barbounis-198765-69
                O’Brien
197             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Stacey Roman        Internal ref: Barbounis-198833-34
198             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Conflicts with      Internal ref: Barbounis-201537-68
                O’Brien
199             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re O’Brien Payroll     Internal ref: Barbounis-200187-200237
                Issues
200             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re October 30          Internal ref: Barbounis-198938-68
                Conflict
201             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re Report to Pipes     Internal ref: Barbounis-199042-293
202             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re pre-all staff       Internal ref: Barbounis-198969-199029
                meeting.
203             SMS Between McNulty and          Produced by Plaintiff with no Bates No.;
                Barbounis re UK Trip             Internal ref: Barbounis-196875-982
204             SMS message chain between L.     McNulty0001-0616
                Barbounis and P. McNulty re:
                D. Thomas, work environment,
                coworkers and related subjects
205             Expert Report of Dr. Barry       No Bates No.
                Zakireh
206             Expert Report of Dr. Barbara     No Bates No.
                Ziv
207             Supplemental Report of Dr.       No Bates No.

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                Barbara Ziv
208             Lisa Barbounis Medical            Confidential Medical Records 0001-0252
                Records                           (Produced by Plaintiff)
209             Text messages between L.          Produced by Plaintiff – no Bates No.
                Barbounis and M. Bennett re: E.
                Patel
210             Text messages between L.          Produced by Plaintiff – no Bates No.
                Barbounis and J. Reynolds re:
                Israel
211             Photos taken by L. Barbounis in   Produced by Plaintiff – no Bates No.
                Israel
212             3/14/18 SMS Messages between      Produced by Plaintiff – no Bates No.
                L. Barbounis and M. Meyer re:
                L. Barbounis’ trip to Israel
213             Text messages from L.             Produced by Plaintiff – no Bates No.
                Barbounis to M. Bennett re:
                Gregg is a good boss
214             3/29/18 Message from L.           Produced by Plaintiff – no Bates No.
                Barbounis to P. McNulty re:
                need to look for a job where I
                am not an assistant
215             Text message thread between L.    Produced by Plaintiff – no Bates No.
                Barbounis and P. McNulty re:
                about to quit
216             3/30/18 series of messages        Produced by Plaintiff – no Bates No.
                between L. Barbounis and P.
                McNulty re: I am going to
                punch Marnie and quit
217             2/2/18 message from L.            Produced by Plaintiff – no Bates No.
                Barbounis to P. McNulty re: M.
                Meyer
218             4/4/18 message from L.            Produced by Plaintiff – no Bates No.
                Barbounis to V. Barbounis
                calling M. Meyer a “bitch
219             4/9/18 message thread between     Produced by Plaintiff – no Bates No.
                L. Barbounis and P. McNulty
                re: lying to get out of work
220             Message thread between L.         Produced by Plaintiff – no Bates No.
                Barbounis and J. Reynolds re:
                G. Roman putting Barbounis’
                name on a proposal
221             Message from L. Barbounis re:     Produced by Plaintiff – no Bates No.
                “everyone here loves me”
222             Message from L. Barbounis to      Produced by Plaintiff – no Bates No.
                P. McNulty re: “sending emails

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                high as shit”
223             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and V. Barbounis re:
                anger at G. Roman
224             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and J. Reynolds re:
                anger at G. Roman
225             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and D. Thomas re:
                “if I didn’t have this Tommy
                thing I’d quit today
226             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and D. Thomas re:
                quitting
227             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and V. Barbounis re:
                meeting with M. Meyer and D.
                Pipes
228             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and V. Barbounis re:
                Israel
229             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis and J. Reynolds re:
                G. Roman reassignment
230             10/30/18 message thread          Produced by Plaintiff – no Bates No.
                between L. Barbounis and D.
                Thomas re: quitting
231             11/15/18 message thread          Produced by Plaintiff – no Bates No.
                between L. Barbounis and K.
                Ercole
232             Message thread between L.        Produced by Plaintiff – no Bates No.
                Barbounis P. McNulty re:
                London trip, including
                screenshot from R. Kassam re:
                spending “Gregg’s $5k”
233             11/23/18 Response from L.        Produced by Plaintiff – no Bates No.
                Barbounis to R. Thomas email
234             12/5/18 Message thread           Produced by Plaintiff – no Bates No.
                between L. Barbounis and T.
                Robinson re: responding to D.
                Pipes’ email
235             Instagram message logs           Produced by Plaintiff – no Bates No.
                between L. Barbounis and V.
                Sullivan
236             3/3/19 Message thread between    Produced by Plaintiff – no Bates No.
                L. Barbounis and D. Thomas re:
                                         19
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                T. Robinson
237             3/7/19 Message thread between     Produced by Plaintiff – no Bates No.
                L. Barbounis and J. Bishop re:
                missing money
238             Message thread between L.         Produced by Plaintiff – no Bates No.
                Barbounis and T. Robinson re:
                missing money
239             Message from L. Barbounis to      Produced by Plaintiff – no Bates No.
                T. Giles re: $100,000
                commission
240             WhatsApp message thread           Produced by Plaintiff – no Bates No.
                between L. Barbounis and T.
                Robinson beginning 4/18/19
241             4/18/19 message thread between    Produced by Plaintiff – no Bates No.
                Plaintiff and T. Walton re:
                missing money
242             5/18/19 message thread between    Produced by Plaintiff – no Bates No.
                L. Barbounis and S. Watson re:
                “I do what I want.”
243             5/29/19 message thread between    Produced by Plaintiff – no Bates No.
                L. Barbounis and G. Levy re: G.
                Roman
244             5/31/19 message thread between    Produced by Plaintiff – no Bates No.
                L. Barbounis and J. Bishop
245             6/20/2019 message thread          Produced by Plaintiff – no Bates No.
                between L. Barbounis and B.
                Baird
246             Message thread from L.            Produced by Plaintiff – no Bates No.
                Barbounis to D. Thomas re: J.
                Bishop
247             Message thread between L.         Produced by Plaintiff – no Bates No.
                Barbounis and J. Bishop re: “I
                love torturing you.”
248             Message thread between L          Produced by Plaintiff – no Bates No.
                Barbounis and J. Bishop
249             9/13/19 Tuition Late Notice       Barbounis deposition exhibit
250             2/2017 Notice of Tax Lien         Public Document
251             9/2014 Notice of Tax Lien         Public Document
252             9-2015 Notice of Tax Lien         Public Document
253             12/15/14 Notice of Levy by IRS    Public Document
254             6/21/17 Collection letter from    Public Document
                ProCo re: delinquent medical
                bills
255             3/12/2019 Civil Action            Public Document
                Complaint re: mortgage

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                forclosure – Wells Fargo Bank
                v. Vasili G. Barbounis, et al.;
                Docket No. 190301479
256             2/1/2021 Civil Action             Public Document
                Complaint – 2601 Parkway
                Condominium Association v.
                Vasili Barbounis, No.
                181101869
257             12/8/17 Certified Copy of Lien    Public Document
                against V. Barbounis
258             12/1/18 Certified Copy of Lien    Public Document
                against V. Barbounis
259             3/2/18 Certified Copy of Lien     Public Document
                against V. Barbounis
260             02/07/2010 State of New Jersey    Public Document
                v. Lisa Reynolds re: assault
261             Certificate of Completion of      No Bates No.
                “Alternatives to Violence Basic
                Workshop”
262             Call/Transcript of D. Thomas      No Bates No.
                Conversation No. 1
263             Call/Transcript of D. Thomas      No Bates No.
                Conversations No. 2
264             Call from M. Ebert to G. Roman    No Bates No.
265             Call between LB and MM            No Bates No.
266             Facebook thread including         Public document
                remarks from L. Barbounis and
                J. Reynolds
267             Communications between L.         Produced by Plaintiff – no Bates No.
                Barbounis and C. McMichael
268             Communications between L.         Produced by Plaintiff – no Bates No.
                Barbounis and J. Whitner
269             Photograph of L. Barbounis        Produced by Plaintiff with no Bates No.; file
                with Matt Gaetz                   name: 18.02.2021_22.07.59_REC.png
270             Screenshot of L. Barbounis        Produced by Plaintiff with no Bates No.; file
                communicating with J. Bishop      name: 19.02.2021_11.05.32_REC.png
271             Screenshot of L. Barbounis’       Produced by Plaintiff with no Bates No.; file
                messages with G. Levy re: MEF     name: 19.02.2021_13.57.19_REC.png
272             Screenshot of L. Barbounis’       Produced by Plaintiff with no Bates No.; file
                messages with G. Levy re: MEF     name: 19.02.2021_13.59.09_REC.png
273             Screenshot of L. Barbounis’       Produced by Plaintiff with no Bates No.; file
                communications with G. Igler      name: 19.02.2021_14.29.45_REC.png
274             Screenshot of L. Barbounis        Produced by Plaintiff with no Bates No.; file
                calling G. Roman a “piece of      name: 19.02.2021_14.42.49_REC.png
                shit”

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275             Screenshot of communication        Produced by Plaintiff with no Bates No.; file
                from L. Barbounis stating G.       name: 19.02.2021_14.44.54_REC.png
                Roman “needs to go away”
276             Screenshot of communication        Produced by Plaintiff with no Bates No.; file
                from L. Barbounis stating she      name: 19.02.2021_15.05.08_REC.png
                “hates” G. Roman
277             Screenshot of L. Barbounis         Produced by Plaintiff with no Bates No.; file
                stating that G. Roman “basically   name: 19.02.2021_20.47.27_REC.png
                got fired”
278             Screenshot of L. Barbounis         Produced by Plaintiff with no Bates No.; file
                message stating that G. Roman      name: 19.02.2021_21.09.19_REC.png
                is “gross”
279             Screenshot of L. Barbounis and     Produced by Plaintiff with no Bates No.; file
                D. Thomas on a livestream          name: 00000098-PHOTO-2018-10-24-02-21-
                                                   33.jpg
280             Audio message from D. Thomas       Produced by Plaintiff with no Bates No.; file
                suggesting MEF has reached out     name: 00000270-AUDIO-2018-10-26-09-53-
                to L. Barbounis’ boss              00.opus
281             Audio message from D. Thomas       Produced by Plaintiff with no Bates No.; file
                referencing L. Barbounis’ black    name: 00000692-AUDIO-2018-11-08-18-13-
                eye                                23.opus
282             Audio message from D. Thomas       Produced by Plaintiff with no Bates No.; file
                to L. Barbounis re: relationship   name: 00000696-AUDIO-2018-11-08-18-15-
                                                   00.opus
283             Audio message from D. Thomas       Produced by Plaintiff with no Bates No.; file
                to L. Barbounis re: “what          name: 00000704-AUDIO-2018-11-08-18-19-
                happens in London stays in         26.opus
                London”
284             Audio message from L.              Produced by Plaintiff with no Bates No.; file
                Barbounis stating that             name: 00000731-AUDIO-2018-11-08-19-27-
                “everyone should be afraid of      41.opus
                her”
285             Screenshot of Instagram photo      Produced by Plaintiff with no Bates No.; file
                of D. Thomas and L. Barbounis      name: 00000793-PHOTO-2018-11-09-21-06-
                                                   19.jpg
286             Photo of newspaper photograph      Produced by Plaintiff with no Bates No.; file
                featuring L. Barbounis and T.      name: 00001744-PHOTO-2018-12-02-05-49-
                Robinson                           09.jpg
287             Photo of L. Barbounis and D.       Produced by Plaintiff with no Bates No.; file
                Thomas                             name: 00003006-PHOTO-2018-12-21-16-54-
                                                   51.jpg
288             Photo of L. Barbounis and D.       Produced by Plaintiff with no Bates No.; file
                Thomas                             name: 00003009-PHOTO-2018-12-21-16-55-
                                                   15.jpg
289             Photo of L. Barbounis and T.       Produced by Plaintiff with no Bates No.; file
                Robinson                           name: 00003111-PHOTO-2018-12-22-18-46-
                                      22
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                                                57.jpg
290             Photograph of D. Thomas         Produced by Plaintiff with no Bates No.; file
                                                name: 00004454-PHOTO-2019-01-15-21-36-
                                                04.jpg
291             Photograph of D. Thomas         Produced by Plaintiff with no Bates No.; file
                                                name:
292                                             Produced by Plaintiff with no Bates No.; file
                                                name: 00004455-PHOTO-2019-01-15-21-36-
                                                12.jpg
293             Photograph of D. Thomas         Produced by Plaintiff with no Bates No.; file
                                                name: 00005042-PHOTO-2019-01-30-06-49-
                                                25.jpg
294             Photograph taken by L.          Produced by Plaintiff with no Bates No.; file
                Barbounis at Brussels           name: 00005043-PHOTO-2019-01-30-06-49-
                conference                      31.jpg
295             Photograph of L. Barbounis      Produced by Plaintiff with no Bates No.; file
                with a black eye                name: 00005072-PHOTO-2019-01-31-05-11-
                                                46.jpg
296             Photograph of L. Barbounis      Produced by Plaintiff with no Bates No.; file
                with T. Robinson                name: 00005078-PHOTO-2019-01-31-13-19-
                                                19.jpg
297             Video of L. Barbounis stating   Produced by Plaintiff with no Bates No.; file
                that she would give D. Thomas name: 00005766-VIDEO-2019-02-12-19-55-
                a black eye                     29.mp4
298             Audio recording of D. Thomas    Produced by Plaintiff with no Bates No.; file
                re: L. Barbounis working for T. name: 00005860-AUDIO-2019-02-14-07-10-
                Robinson                        59.opus
299             Audio message from D. Thomas Produced by Plaintiff with no Bates No.; file
                threatening to end his          name: 00005956-AUDIO-2019-02-16-09-35-
                relationship with L. Barbounis  15.opus
300             Audio message from L.           Produced by Plaintiff with no Bates No.; file
                Barbounis to D. Thomas          name: 00005957-AUDIO-2019-02-16-09-40-
                responding to his message about 44.opus
                her ruining his life
301             Screenshot of L. Barbounis      Produced by Plaintiff with no Bates No.; file
                explaining how she received a   name: 00006248-PHOTO-2019-03-01-07-46-
                black eye                       41.jpg
302             Audio message from D. Thomas Produced by Plaintiff with no Bates No.; file
                telling L. Barbounis to cease   name: 00006328-AUDIO-2019-03-03-09-53-
                speaking with J. Bishop         00.opus
303             Photo of L. Barbounis’ new      Produced by Plaintiff with no Bates No.; file
                boss asleep                     name: MEFPHN02-0000095.jpeg
304             Screenshot of L. Barbounis’     Produced by Plaintiff with no Bates No.; file
                explaining how to hide photos   name: MEFPHN02-0000267.png
305             Photo of L. Barbounis’ debt to  Produced by Plaintiff with no Bates No.; file

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                University of Pennsylvania      name: MEFPHN02-0000387.JPG
306             Screenshot of L. Barbounis      Produced by Plaintiff with no Bates No.; file
                communicating with J.           name: MEFPHN02-0000430.PNG
                Reynolds
307             Photograph of L. Barbounis’     Produced by Plaintiff with no Bates No.; file
                student loan bills              name: MEFPHN02-0000501.png
308             Photograph of L. Barbounis’     Produced by Plaintiff with no Bates No.; file
                past due school bill            name: MEFPHN02-0000687.jpeg
309             Photograph of L. Barbounis’     Produced by Plaintiff with no Bates No.; file
                black eye                       name: MEFPHN02-0001703.HEIC
310             Photograph of L. Barbounis’     Produced by Plaintiff with no Bates No.; file
                proposal to T. Giles            name: Proposal to Terry Giles for The Rebel
311             Photograph of J. Reynolds in    Produced by Plaintiff with no Bates No.; file
                London                          name: MEFPHN02-0003380.HEIC
312             Photograph of J. Reynolds       Produced by Plaintiff with no Bates No.; file
                                                name: MEFPHN02-0003382.HEIC
313             Photograph of J. Reynolds       Produced by Plaintiff with no Bates No.; file
                                                name: MEFPHN02-0003388.HEIC
314             Photograph of Brussels          Produced by Plaintiff with no Bates No.; file
                conference                      name: MEFPHN02-
                                                0003413.HEIC.preview.jpg
315             Video of L. Barbounis and D.    Produced by Plaintiff with no Bates No.; file
                Thomas                          name: MEFPHN02-0007349.mp4
316             Janice Atkinson proposal to     Produced by Plaintiff with no Bates No.; file
                MEF                             name: MEFPHN02-0007783.docx
317             Video of L. Barbounis and T.    Produced by Plaintiff with no Bates No.; file
                McNulty                         name: MEFPHN02-0010694.mov
318             Video of L. Barbounis, T.       Produced by Plaintiff with no Bates No.; file
                McNulty, D. Yonchek and C.      name: MEFPHN02-0010732.mov
                Brady
319             Photograph of UK rally          Produced by Plaintiff with no Bates No.; file
                                                name: MEFPHN02-0011657.HEIC
320             Video of UK rally               Produced by Plaintiff with no Bates No.; file
                                                name: MEFPHN02-0013071.MOV
321             Photograph of UK rally          Produced by Plaintiff with no Bates No.; file
                                                name: MEFPHN02-
                                                0013072.HEIC.preview.jpg
322             Photo of L. Barbounis at Gala   D0011590
323             Photo of L. Barbounis at Gala   D0011591
324             Photo of L. Barbounis at Gala   D0011592
325             Photo of L. Barbounis at Gala   D0011593
326             Photo of L. Barbounis at Gala   D0011594
327             Photo of L. Barbounis at Gala   D0011595
328             Screenshot of L. Barbounis      Produced by Plaintiff with no Bates No.; file
                discussing French AirBNB host   name: MEHPFN02-0001976
                                      24
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                for Israel trip
329             Screenshot of L. Barbounis       Produced by Plaintiff with no Bates No.; file
                discussing AirBNB in Israel      name: MEHPFN02-0001976
330             Screenshot of L. Barbounis       Public document from Twitter:
                stating she is paid more than    https://twitter.com/Lisaelizabeth
                male counterparts                /status/1204062911381069824

331             Photo of L. Barbounis with       Produced by Plaintiff with no Bates No.;
                middle finger
332             Screenshot of L. Barbounis       Produced by Plaintiff with no Bates No.;
                telling J. Bishop she loves      Internal ref. no.: REL0000004232
                torturing her
333             Screenshot of L. Barbounis       Produced by Plaintiff with no Bates No.;
                telling J. Bishop she has guys   Internal ref. no.: REL0000004232
                lined up at her door
334             Screenshot of L. Barbounis       Produced by Plaintiff with no Bates No.;
                stating that she never deletes   Internal ref: no.: REL0000004414
                anything
335             Photo of L. Barbounis and D.     Produced by Plaintiff with no Bates No.;
                Thomas in bed
336             Conversation between L.          Produced by Plaintiff with no Bates No.; file
                Barbounis and A. Meckelburg      name: MEFPHN01-0000892
337             Conversation between L.          Produced by Plaintiff with no Bates No.; file
                Barbounis, G. Levy and E.        name: MEFPHN01-0003743
                Levant
338             L. Barbounis text message        Produced by Plaintiff with no Bates No.; file
                thread                           name: MEFPHN01-0000967
339             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and B. Baird           name: MEFPHN02-0005141
340             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and G. Igler           name: MEFPHN02-0007429
341             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and J. Reynolds        name: MEFPHN01-0000807
342             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and J. Bishop          name: MEFPHN02-0007292
343             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and J. Bishop          name: MEFPHN01-0000050
344             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and J. Bishop          name: MEFPHN02-0006137
345             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and M. Meyer           name: MEFPHN02-0011445
346             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and P. Sandman         name: MEFPHN02-0007681
347             Message thread between L.        Produced by Plaintiff with no Bates No.; file
                Barbounis and R. Costello        name: MEFPHN02-0014341

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348             Message thread between L.         Produced by Plaintiff with no Bates No.; file
                Barbounis and T. Robinson         name: MEFPHN02-0008568
349             Message thread between L.         Produced by Plaintiff with no Bates No.; file
                Barbounis and T. Walton           name: MEFPHN01-0003640
350             Message thread between L.         Produced by Plaintiff with no Bates No.; file
                Barbounis and V. Barbounis        name: MEFPHN02-0006495
351             Message thread between L.         Produced by Plaintiff with no Bates No.; file
                Barbounis and V. Barbounis        name: MEFPHN02-0010153
352             Message thread between L.         Produced by Plaintiff with no Bates No.; file
                Barbounis and W. Chamberlain      name: MEFPHN02-0005412
353             L. Barbounis message re:          Produced by Plaintiff with no Bates No.; file
                Tommy Robinson campaign           name: MEFPHN01-0004882
354             L. Barbounis message re: V.       Produced by Plaintiff with no Bates No.; file
                Barbounis                         name: MEFPHN02-0000282
355             L. Barbounis message re: A.       Produced by Plaintiff with no Bates No.; file
                Patel                             name: MEFPHN02-0011697
356             L. Barbounis message with D.      Produced by Plaintiff with no Bates No.; file
                Thomas                            name: MEFPHN01-0004264
357             L. Barbounis message re: T.       Produced by Plaintiff with no Bates No.; file
                Robinson                          name: MEFPHN01-0003921
358             L. Barbounis message re: job      Produced by Plaintiff with no Bates No.; file
                stress                            name: MEFPHN01-0004264
359             L. Barbounis message re: Israel   Produced by Plaintiff with no Bates No.; file
                AirBNB                            name: MEFPHN02-0001976
360             Message from L. Barbounis to      Produced by Plaintiff with no Bates No.;
                J. Bishop:                        Internal ref. no.: REL0000004232
361             Email from L. Barbounis re: T.    Produced by Plaintiff with no Bates No.;
                McNulty’s resignation letter      Internal ref. no.: REL0000004414
362             Messages between L. Barbounis     Produced by Plaintiff with no Bates No.;
                to J. Bishop                      Internal ref. no.: REL0000030870
363             Message from L. Barbounis         Produced by Plaintiff with no Bates No.; file
                discussing factory reset of       name: MEFPHN02-0011445
                device
364             Message thread between L.         Produced by Plaintiff with no Bates No.; file
                Barbounis and J. Reynolds         name: MEFPHN02-0013135
365             Facebook profile of Olivia        Publicly available via social media; URL:
                Eleftherakis (created by L.       https://m.facebook.com/
                Barbounis)                        olivia.jane.94617?tsid=
                                                  0.9779427570762862&source=result




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  Attachment C
 Correspondence
Regarding 30(b)(6)
   Deposition




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Cavalier, Jonathan
From: Cavalier, Jonathan
Sent: Wednesday, September 15, 2021 10:14 AM
To: Seth Carson
Subject: Re: Deposition of a 12(b)(6)

Seth:
I’m not sure what you’re referring to here, but I disagree strongly with your statement that you
have “tried to schedule a 12(b)(6) many times.” Assuming that you mean a 30(b)(6) deposition,
you reached out to me once, for the first and only time, via text message, on Monday, August 16
(nearly a month ago, and two weeks after we produced documents in accordance with Judge
Wilson’s order), asking to schedule Gregg Roman’s 30(b)(6) deposition “in the next week or so.”
I asked you whether you were saying “that you want to have dates locked down in the next week
or so, or that you want to do the deposition in the next week or so,” and I told you, the “former, I
can do, no problem. The latter, I can’t - I don’t know Gregg’s schedule, but I’m on vacation
starting tomorrow through the end of next week.” I then told you that “I can talk to Gregg about
his schedule but we would probably be looking at the week of the 30th.”

You responded that you “thought we had a schedule to keep,” and I told you specifically that all
you had to do was submit your deposition witness list to the Court by September 2, per Judge
Wolson’s prior Order. You did not do so, and to my knowledge, you never reached out about it
again to me by phone, text or email, nor did you ever notice any deposition. As a result, we quite
reasonably assumed that you had decided against taking it.

It is now nearly two weeks beyond the Court-ordered deadline and a month since the last and
only time you reached out about scheduling this deposition, and as you note, we are focused on
the other immanent dates in the Court’s scheduling order, including exhibit lists, which are due
in two days, and our pretrial memo, which is due at the end of next week. If I am wrong about
any of the above, please let me know - otherwise, from Defendants’ perspective and per the
Court’s order, this is a closed issue.

If you would like to discuss, let me know - I’m out of the office today but will be around
tomorrow.

Thanks,
Jon Cavalier
Sent from my iPhone



On Sep 14, 2021, at 10:30 PM, Seth Carson <seth@dereksmithlaw.com> wrote:
**EXTERNAL SENDER**
Jon,
2
I have tried to schedule a deposition of a 12(b)(6) with you many times now and we have to get
this done. We are heading into dates when exhibits are due. I gave you time because you asked

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for it but you never got back to me. Can you please let me know when I can schedule this
12(b)(6) deposition?




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